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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 RABHA R. ABDELLATIF; LAURA A.
 ENRIQUEZ; and THERESA
 MCCAMBRIDGE,

      Plaintiffs,

 v.                                                     Case No. 1:21-cv-03245

 MERCHANTS' CREDIT GUIDE
 COMPANY,

      Defendant.

                             NOTICE OF VOLUNTARY DISMISSAL

        NOTICE IS HEREBY GIVEN that pursuant to Federal Rule of Civil Procedure 41(a),

Plaintiffs,   RABHA     R.    ABDELLATIF;       LAURA       A.   ENRIQUEZ;        and   THERESA

MCCAMBRIDGE,          voluntarily   dismiss   Defendant,     MERCHANTS'          CREDIT    GUIDE

COMPANY, with prejudice from this action with each party to bear their own attorney’s fees and

costs. This notice of voluntary dismissal is being filed with the Court before service by Defendant

of either an answer or a motion for summary judgment.

 DATED: July 12, 2021                               Respectfully submitted,

                                                    RABHA R. ABDELLATIF; LAURA A.
                                                    ENRIQUEZ; and THERESA
                                                    MCCAMBRIDGE

                                                    By: /s/ Joseph S. Davidson

                                                    Joseph S. Davidson
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